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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


 CHROMADEX, INC. and TRUSTEES )
 OF DARTMOUTH COLLEGE,        )
                              )
              Plaintiffs,     )
                              )
     v.                       )                    C.A. No. 18-1434-CFC
                              )
 ELYSIUM HEALTH, INC.,        )
                              )
              Defendant.      )


                     ELYSIUM HEALTH, INC.’S
   RULE 12(b)(1) MOTION TO DISMISS CHROMADEX, INC.’S CLAIMS

       Defendant Elysium Health, Inc. hereby respectfully moves, pursuant to Rule

 12(b)(1) of the Federal Rules of Civil Procedure, to dismiss all claims of Plaintiff

 ChromaDex, Inc. for lack of subject matter jurisdiction.

       The grounds for this motion are fully set forth in the accompanying

 Combined Opening Brief in Support of Defendant Elysium Health, Inc.’s Motion

 to Dismiss, and Answering Brief in Opposition to Plaintiffs’ Motion for Leave to

 Amend Complaint.
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                                           ASHBY & GEDDES

                                           /s/ Steven J. Balick
                                           _____________________________
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